                                    Case 2:22-cv-01527-DAD-AC Document 71 Filed 04/24/24 Page 1 of 3


                                 RYAN R. GORDON (SBN 278414)
                             1   VANESSA T. SHAKIB (SBN 287339)
                             2   ADVANCING LAW FOR ANIMALS
                                 407 N. Pacific Coast Highway #267
                             3   Redondo Beach, CA 90277
                                 Tel: (202) 996-8389
                             4   rgordon@advancinglawforanimals.org
                                 vshakib@advancinglawforanimals.org
                             5
                             6   DANIEL J. KOLDE, ESQ.
                                 LAW OFFICES OF DANIEL J. KOLDE
                             7   P.O. Box 440344
                                 St. Louis, Missouri 63144-9998
                             8   Tel: 636.675.5383
                                 Email: daniel.kolde.law@gmail.com
                             9
                                 (pro hac vice application to be filed)
                            10
                                 Attorneys for Plaintiffs
                            11
ADVANCING LAW FOR ANIMALS




                            12                                UNITED STATES DISTRICT COURT
                                                             EASTERN DISTRICT OF CALIFORNIA
                            13
                                                                   SACRAMENTO DIVISION
                            14
                                 E.L., a minor, by and through her general        Case No. 2:22-cv-01527-DAD-AC
                            15   guardian, JESSICA LONG; JESSICA LONG, an
                                 individual,
                            16                    Plaintiffs,
                                           v.                                     PLAINTIFF JESSICA LONG’S NOTICE OF
                            17   LIEUTENANT JERRY FERNANDEZ,                      AND MOTION TO DEPOSITION OF
                                 individually and in his individual capacity as   SHERIFF MICHAEL JOHNSON
                            18
                                 Sheriff for the County of Shasta; DETECTIVE
                            19   JACOB DUNCAN, individually and in his            Trial Date: March 24, 2025
                                 individual capacity as Sheriff for the County of
                            20   Shasta; DETECTIVE JEREMY ASHBEE,                 Action Filed: August 31, 2022
                                 individually and in his individual capacity as
                            21
                                 Sheriff for the County of Shasta; SHASTA
                                 DISTRICT FAIR AND EVENT CENTER, a                Date:         May 15, 2024
                            22
                                 district agricultural association; COUNTY OF     Time:         10:00 am
                            23   SHASTA; SHASTA COUNTY SHERIFF’S                  Courtroom: 26, 8th Floor
                                 DEPARTMENT; MELANIE SILVA, in her                Magistrate: Hon. Allison Claire
                            24   individual capacity; BJ MACFARLANE, in his
                                 individual capacity; KATHIE MUSE, in her
                            25
                                 individual and official capacity, and DOES 1
                            26   through 10,
                                                  Defendants.
                            27
                            28
                                                                                 1
                                                            PLAINTIFF JESSICA LONG’S NOTICE OF MOTION
                                     Case 2:22-cv-01527-DAD-AC Document 71 Filed 04/24/24 Page 2 of 3



                             1   PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure Rule 30 and 45 and the

                             2   Eastern District of California’s Local Rule 251, on May 15, 2024, at 10:00 a.m., in Courtroom 26 (8th
                             3   floor) of the United States District Court for the Eastern District of California at 501 I Street,

                             4   Sacramento, California 95914, before the Honorable Magistrate Judge Allison Claire, Plaintiff Jessica
                             5   Long does and will move this Court for an order compelling the deposition of Sheriff Michael Johnson
                             6   of the Shasta County Sheriff’s Department. The grounds for this motion, including substantive
                             7   argument, declarations, and exhibits in support will be contained in and attached to the forthcoming
                             8   Joint Statement re Discovery Disagreement, pursuant to Local Rule 251(c), or forthcoming motion to
                             9   compel.
                            10          Counsel for Mrs. Long certify they engaged in the meet and confer obligations imposed by
                            11   local rule and will explain such compliance in declarations accompanying the forthcoming Joint
ADVANCING LAW FOR ANIMALS




                            12   Statement and/or memorandum in support of motion.
                            13   .
                            14
                                                                             ADVANCING LAW FOR ANIMALS
                            15
                            16   Dated: April 24, 2024                       By:    /s/Ryan Gordon
                                                                             Ryan Gordon
                            17                                               Vanessa Shakib
                                                                             Attorneys for Plaintiffs
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                                                           PLAINTIFF JESSICA LONG’S NOTICE OF MOTION
                                    Case 2:22-cv-01527-DAD-AC Document 71 Filed 04/24/24 Page 3 of 3



                             1                                      PROOF OF SERVICE
                             2   I, Ryan Gordon, declare:
                             3          I am employed in the County of Los Angeles, State of California. I am over the age of 18
                                 and not a party to the within action. My business address is 407 N. Pacific Coast Hwy. #267,
                             4   Redondo Beach, CA 90277.
                             5         On February 24, 2024, I served on the interested parties in this action the following
                                 document(s) described as PLAINTIFF JESSICA LONG’S REQUEST FOR PRODUCTION OF
                             6
                                 DOCUMENTS TO DEFENDANT KATHIE MUSE, SET TWO
                             7
                                 ý By placing ý a true copy thereof enclosed in a sealed envelope addressed as follows:
                             8
                                  CHRISTOPHER M. PISANO,                  JOHN C. BRIDGES
                             9    christopher.pisano@bbklaw.com           CALIFORNIA DEPARTMENT OF JUSTICE
                                  DAMIAN A. NORTHCUTT,                    Tort and Condemnation Section
                            10                                            1300 I Street, Suite 1210
                                  Damian.Northcutt@bbklaw.com
                            11    JULIA HERNANDEZ                         Sacramento, CA, 95814
ADVANCING LAW FOR ANIMALS




                                  Julia.Hernandez@bbklaw.co               John.Bridges@doj.ca.gov
                            12    BEST BEST & KRIEGER LLP 300
                                  South Grand Avenue 25th Floor           Ralph Collins, Esq.
                            13    Los Angeles, California 90071           ralph.collins@rswslaw.com
                                                                          Tonya.hamilton@rswslaw.com
                            14
                                  ¨ BY MAIL: The envelope was mailed with postage thereon fully prepaid. I am “readily familiar”
                            15      with the firm’s practice of collection and processing correspondence for mailing. Under that
                                    practice it would be deposited with the U.S. postal service on that same day with postage thereon
                            16      fully prepaid at Los Angeles, California in the ordinary course of business. I am aware that on
                                    motion of the party served, service is presumed invalid if the postal cancellation date or postage
                            17      meter date is more than one day after service of deposit for mailing in affidavit.
                                  ¨ OVERNIGHT DELIVERY: I deposited such envelope in a facility regularly maintained by ý
                            18      FEDERAL EXPRESS with delivery fees fully provided for or delivered the envelope to a courier
                                    or driver of ¨ FEDERAL EXPRESS authorized to receive documents at 407 N. Pacific Coast
                            19      Hwy, #267, Redondo Beach, CA 90277 with delivery fees fully provided for.
                                  ý BY E-MAIL OR ELECTRONIC TRANSMISSION: The document(s) was sent from e-mail
                            20      address rgordon@advancinglawforanimals.org to the persons at the e-mail addresses listed in the
                                    Service List. I did not receive, within a reasonable time after the transmission, any electronic
                            21      message or other indication that the transmission was unsuccessful.
                            22    ¨ [State]       I declare under penalty of perjury under the laws of the State of California that the
                                                  above is true and correct.
                            23    ý [Federal]     I declare that I am employed in the offices of a member of the State Bar of this Court
                                                  at whose direction the service was made. I declare under penalty of perjury under the
                            24                    laws of the United States of America that the above is true and correct.
                            25   Executed on April 24, 2024, at Los Angeles, California.
                            26
                                                                                     /s/Ryan Gordon
                            27                                                              Ryan Gordon
                            28
                                                                                 3
                                                            PLAINTIFF JESSICA LONG’S NOTICE OF MOTION
